67 F.3d 297
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff--Appellee,v.Ivan DAWKINS, a/k/a Dollarhead, Defendant--Appellant.
    No. 95-6702.
    United States Court of Appeals, Fourth Circuit.
    Submitted Aug. 29, 1995.Decided Sept. 22, 1995.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Richmond.  Robert R. Merhige, Jr., Senior District Judge.  (CR-93-7, CA-95-109-CV-3)
      Ivan Dawkins, Appellant Pro Se.  Lawrence Joseph Leiser, Assistant United States Attorney, Alexandria, Virginia;  Howard Crawford Vick, Jr., OFFICE OF THE UNITED STATES ATTORNEY, Richmond, Virginia, for Appellee.
      E.D.Va.
      AFFIRMED.
      Before MURNAGHAN, LUTTIG, and MICHAEL, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his 28 U.S.C. Sec. 2255 (1988) motion.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  United States v. Dawkins, Nos.  CR-93-7;  CA-95-109-CV-3 (E.D.Va. Apr. 19, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    